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United States District Court
Southern District of New York                                     7:20-cv-01680

Gordon Hiland, individually and on behalf
of all others similarly situated,
                                Plaintiff,

                  - against -                                       Complaint

Whole Foods Market Group, Inc.,
                                Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.      Whole Foods Market Group, Inc. (“defendant”) manufactures, distributes, markets,

labels and sells rice drink beverages purporting to be flavored only with vanilla under their Organic

365 brand (“Products”).

       2.      The Products are available to consumers from defendant’s retail stores, its website

and Amazon.com and are sold in cartons of 32 OZ (946 ML).

       3.      The relevant front representations include “Vanilla,” “Rice Milk,” “Rice Grown in

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the USA,” “Calcium & Vitamin Enriched,” “Non-Dairy,” “Organic,” “365” and “Lactose Free.”




       4.      The unqualified, prominent and conspicuous representation of the Product as

“Vanilla” is false, deceptive and misleading because the Product contains non-vanilla flavors

which imitate, reinforce and extend vanilla but are not derived from the vanilla bean, yet these

flavors are not disclosed to consumers as required and expected.


I. Increase in Consumption of Non-Dairy, Plant-Based Milk Alternatives


       5.      Over the past ten years, the number of dairy milk substitutes has proliferated to

include “milks” (milk-like beverages) made from various agricultural commodities.


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        6.      Reasons for consuming non-dairy milks include avoidance of animal products due to

health, environmental or ethical reasons, dietary goals or food allergies.1

        7.      Three of the most popular milk alternatives are made from rice, soybeans and

almonds.

        8.      Recent studies indicate that of the 7.2 million U.S. adults with food allergies, 3

million are allergic to tree nuts while 1.5 million are allergic to soy.2

        9.      Whether due to few people being allergic to soy and tree nuts (almonds) or the

different qualities of each product type, consumers have preferences for one over the other and

seldom switch between their “plant milk” of choice.

        10.     Unlike soy and almond milk, rice milk is valued in part because it is the least

allergenic of non-dairy milks.

        11.     This makes it popular and widely used because it will be tolerated by more people

than soy or almond milk.

        12.     A rice milk flavored with vanilla or chocolate will contain different types and

amounts of vanilla flavorings than a soy or almond milk, due to its naturally sweeter flavor.


II.     Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand

        13.     The tropical orchid of the genus Vanilla (V. planifolia) is the source of the prized

flavor commonly known as vanilla, defined by law as “the total sapid and odorous principles

extractable from one-unit weight of vanilla beans.”3

        14.     Vanilla’s “desirable flavor attributes…make it one of the most common ingredients


1
  Margaret J. Schuster, et al. “Comparison of the Nutrient Content of Cow’s Milk and Nondairy Milk Alternatives:
What’s the Difference?,” Nutrition Today 53.4 (2018): 153-159.
2
  Ruchi Gupta et al., "Prevalence and severity of food allergies among US adults," JAMA network open 2, no. 1
(2019): e185630-e185630.
3
  21 C.F.R. §169.3(c).
                                                       3
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used in the global marketplace, whether as a primary flavor, as a component of another flavor, or

for its desirable aroma qualities.”4

        15.     Though the Pure Food and Drugs Act of 1906 (“Pure Food Act”) was enacted to

“protect consumer health and prevent commercial fraud,” this was but one episode in the perpetual

struggle against those who have sought profit through sale of imitation and lower quality

commodities, dressed up as the genuine articles.5

        16.     It was evident that protecting consumers from fraudulent vanilla would be

challenging, as E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department of

Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla consumed

[in the United States] as all other flavors together.”6

        17.     This demand could not be met by natural sources of vanilla, leading manufacturers

to devise clever, deceptive and dangerous methods to imitate vanilla’s flavor and appearance.

        18.     Today, headlines tell a story of a resurgent global threat of “food fraud” – from olive

oil made from cottonseeds to the horsemeat scandal in the European Union.7

        19.     Though “food fraud” has no agreed-upon definition, its typologies encompass an

ever-expanding, often overlapping range of techniques with one common goal: giving consumers

less than what they bargained for.


    A. Food Fraud as Applied to Vanilla

4
  Daphna Havkin-Frenkel, F.C. Bellanger, Eds., Handbook of Vanilla Science and Technology, Wiley, 2018.
5
  Berenstein, 412; some of the earliest recorded examples of food fraud include unscrupulous Roman merchants who
sweetened wine with lead.
6
  E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
7
  Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
                                                         4
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         20.    Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.8

         21.    The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities in today’s interconnected world.9

         Type of Food Fraud                                     Application to Vanilla

    ➢ Addition of markers
       specifically tested for          •   Manipulation of the carbon isotope ratios to produce
       instead of natural                   synthetic vanillin with similar carbon isotope composition
       component of vanilla                 to natural vanilla
       beans

                                        •   Ground vanilla beans and/or seeds to provide visual appeal
                                            as “specks” so consumer thinks the product contains real
                                            vanilla beans, when the ground beans have been exhausted
    ➢ Appearance of more                    of flavor
       and/or higher quality of         •   Caramel to darken the color of an imitation vanilla so it
       the valued ingredient                more closely resembles the hue of real vanilla10
                                        •   Annatto and turmeric extracts in dairy products purporting
                                            to be flavored with vanilla, which causes the color to better
                                            resemble the hue of rich, yellow butter

    ➢ Substitution and                  •   Tonka beans, though similar in appearance to vanilla
       replacement of a high                beans, are banned from entry to the United States due to
       quality ingredient with              fraudulent use



8
   Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
9
  Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.
10
   Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.
                                                        5
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     alternate ingredient of             •     Coumarin, a toxic phytochemical found in Tonka beans,
     lower quality                             added to imitation vanillas to increase vanilla flavor
                                               perception

 ➢ Addition of less expensive
     substitute ingredient to                • Synthetically produced ethyl vanillin, from recycled paper,
     mimic flavor of more                      tree bark or coal tar, to imitate taste of real vanilla
     valuable component

                                             • “to mix flavor materials together at a special ratio in which
                                               they [sic] compliment each other to give the desirable
                                               aroma and taste”11
                                             • Combination with flavoring substances such as propenyl

 ➢ Compounding, Diluting,                      guaethol (“Vanitrope”), a “flavoring agent [, also]

     Extending                                 unconnected to vanilla beans or vanillin, but unmistakably
                                               producing the sensation of vanilla”12

                                             • “Spiking” or “fortification” of vanilla through addition of
                                               natural and artificial flavors including vanillin, which
                                               simulates vanilla taste but obtained from tree bark

                                             • Injection of vanilla beans with mercury, a poisonous
 ➢ Addition of fillers to give
                                               substance, to raise the weight of vanilla beans, alleged in
     the impression there is
                                               International Flavors and Fragrances (IFF), Inc. v. Day
     more of the product than
                                               Pitney LLP and Robert G. Rose, 2005, Docket Number L-
     there actually is
                                               4486-09, Superior Court of New Jersey, Middlesex County

                                             • Subtle, yet deliberate misidentification and obfuscation of
 ➢ Ingredient List Deception13                 a product’s components and qualities as they appear on the
                                               ingredient list


11
   Chee-Teck Tan, "Physical Chemistry in Flavor Products Preparation: An Overview" in Flavor Technology, ACS
Symposium Series, Vol. 610 1995. 1-17.
12
   Berenstein, 423.
13
   Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar.
                                                          6
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                                              o “ground vanilla beans” gives impression it describes
                                                  unexhausted vanilla beans when actually it is devoid of
                                                  flavor and used for aesthetics
                                              o “natural vanilla flavorings” – “-ing” as suffix referring
                                                  to something like that which is described
                                              o “Vanilla With Other Natural Flavors” – implying –
                                                  wrongly – such a product has a sufficient amount of
                                                  vanilla to characterize the food
                                              o “Natural Flavors” – containing “natural vanillin”
                                                  derived not from vanilla beans but from tree pulp.
                                                  When paired with real vanilla, vanillin is required to be
                                                  declared as an artificial flavor
                                              o “Non-Characterizing” flavors which are not identical
                                                  to vanilla, but that extend vanilla


         22.    The “plasticity of legal reasoning” with respect to food fraud epitomize what H.

Mansfield Robinson and Cecil H. Cribb noted in 1895 in the context of Victorian England:

         the most striking feature of the latter‐day sophisticator of foods is his knowledge of
         the law and his skill in evading it. If a legal limit on strength or quality be fixed for
         any substance (as in the case of spirits), he carefully brings his goods right down to
         it, and perhaps just so little below that no magistrate would convict him.

         The law and chemistry of food and drugs. London: F.J. Rebman at p. 320.14

     B. The Use of Vanillin to Simulate Vanilla

         23.    The most persistent challenger to the authenticity of real vanilla has been synthetic

versions of its main flavor component, vanillin.

         24.    First synthesized from non-vanilla sources by German chemists in the mid-1800s,

vanillin was the equivalent of steroids for vanilla flavor.



14
   Cited in Sébastien Rioux, “Capitalist food production and the rise of legal adulteration: Regulating food standards
in 19th‐century Britain,” Journal of Agrarian Change 19.1 (2019) at p. 65 (64-81).
                                                          7
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        25.    According to Skip Rosskam, a professor of vanilla at Penn State University and

former head of the David Michael flavor house in Philadelphia, “one ounce of vanillin is equal to

a full gallon of single-fold vanilla extract.”15

        26.    Today, only 1-2% of vanillin in commercial use is vanillin obtained from the vanilla

plant, which means that almost all vanillin has no connection to the vanilla bean.

        27.    Nevertheless, disclosure of this powerful ingredient has always been required where

a product purports to be flavored with vanilla. See Kansas State Board of Health, Bulletin, Vol. 7,

1911, p. 168 (cautioning consumers that flavor combinations such as “vanilla and vanillin…vanilla

flavor compound,” etc., are not “vanilla [extract] no matter what claims, explanations or formulas

are given on the label.”).

        28.    Since vanilla is the only flavor with its own standard of identity, its labeling is

controlled not by the general flavor regulations but by the standards for vanilla ingredients.

        29.    This means that if a product is represented as being characterized by vanilla yet

contains non-vanilla vanillin, the label and packaging must declare vanillin an artificial flavor. See

Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The specified name of the food is ‘Vanilla-

vanillin extract _-fold’ or ‘_-fold vanilla-vanillin extract’, followed immediately by the statement

‘contains vanillin, an artificial flavor (or flavoring)’.”); see also 21 C.F.R. § 169.181(b), §

169.182(b) (Vanilla-vanillin flavoring and Vanilla-vanillin powder).

        30.    This prevents consumers from being misled by products which may taste similar to

real vanilla and but for consumer protection requirements, would be sold at the price of real vanilla.


     C. Production of “Natural Vanillins” Combined with “Natural Vanilla”



15
  Katy Severson, Imitation vs. Real Vanilla: Scientists Explain How Baking Affects Flavor, Huffington Post, May
21, 2019.
                                                      8
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           31.    The past ten years have seen many vanillins purporting to be a “natural flavor” –

derived from a natural source material which undergoes a natural production process.

           32.    However, “natural vanillin” is not a “natural vanilla flavor” because the raw material

is not vanilla beans but ferulic acid and eugenol.

           33.    Ferulic acid can be converted to vanillin through a natural fermentation process

which is cost prohibitive for almost all applications.

           34.    Vanillin from eugenol is easier to produce in a way claimed to be a “natural process.”

           35.    However, because this process occurs without transparency or verification in China,

regulators and consumers are not told the production method is more properly described as that of

an artificial flavor, involving a chain of chemical reactions.


III.       Flavor Industry’s Efforts to Use Less Vanilla, Regardless of any Shortages

           36.    The “flavor industry” refers to the largest “flavor houses” such as Symrise AG,

Firmenich, Givaudan, International Flavors and Fragrances (including David Michael), Frutarom

and Takasago International along with the largest food manufacturing companies such as Unilever.

           37.    The recent global shortage of vanilla beans has provided the flavor industry another

opportunity to “innovate[ing] natural vanilla solutions…to protect our existing customers.”16

           38.    Their “customers” do not include the impoverished vanilla farmers nor consumers,

who are sold products labeled as “vanilla” for the same or higher prices than when those products

contained only vanilla.

           39.    These efforts include (1) market disruption and manipulation and (2) the

development of alternatives to vanilla which completely or partially replace vanilla.


       A. Flavor Industry’s Attempt to Disrupt Supply of Vanilla to Create a “Permanent Shortage”
16
     Amanda Del Buouno, Ingredient Spotlight, Beverage Industry, Oct. 3, 2016.
                                                          9
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           40.    The flavor industry has developed schemes such as the “Sustainable Vanilla

Initiative” and “Rainforest Alliance Certified,” to supposedly assure a significant supply of vanilla

at stable, reasonable prices.

           41.    Contrary to their intention, these programs make vanilla less “sustainable” by paying

farmers to destroy their vanilla and harvest palm oil under the pretense of “crop diversification.”

           42.    There have also been allegations that these programs use child and/or slave labor.

           43.    Other tactics alleged to be utilized by these companies include “phantom bidding,”

where saboteurs claim they will pay a higher price to small producers, only to leave the farmers in

the lurch, forced to sell at bottom dollar to remaining bidders.17

           44.    The reasons for these counterintuitive actions is because they benefit from high

vanilla prices and the use of less real vanilla.

           45.    When less vanilla is available, companies must purchase the higher margin,

proprietary, “vanilla-like” flavorings made with advanced technology and synthetic biology.


       B. Use of Vanilla WONF Ingredients to Replace and Provide Less Vanilla

           46.    Though flavor companies will not admit their desire to move off real vanilla, this

conclusion is consistent with the comments of industry executives.

           47.    According to Suzanne Johnson, vice president or research at a North Carolina

laboratory, “Many companies are trying to switch to natural vanilla with other natural flavors

[WONF] in order to keep a high-quality taste at a lower price,” known as “Vanilla WONF.”

           48.    The head of “taste solutions” at Irish conglomerate Kerry urged flavor manufacturers

to “[G]et creative” and “build a compounded vanilla flavor with other natural flavors.”




17
     Monte Reel, The Volatile Economics of Natural Vanilla in Madagascar, Bloomberg.com, Dec. 16, 2019.
                                                        10
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         49.    A compounded vanilla flavor “that matches the taste of pure vanilla natural extracts”

can supposedly “provide the same vanilla taste expectation while requiring a smaller quantity of

vanilla beans. The result is a greater consistency in pricing, availability and quality.”18

         50.    These compounded flavors exist in a “black box” with “as many as 100 or more

flavor ingredients,” including potentiators and enhancers, like maltol and piperonal, blended

together to enhance the vanilla, allowing the use of less vanilla to achieve the intended taste.19

         51.    The effort to replace vanilla with so-called Vanilla WONF started in the late 1960s,

but the last 10 years have seen the proliferation of this ingredient.


      C. Decline of Industry Self-Governance

         52.    That high level executives in the flavor industry are willing to boast of their

stratagems to give consumers less vanilla for the same or greater price is not unexpected.

         53.    The once powerful and respected trade group, The Flavor and Extract Manufacturers

Association (“FEMA”), abandoned its “self-policing” of misleading vanilla labeling claims and

disbanding its Vanilla Committee.

         54.    FEMA previously opposed industry efforts to deceive consumers, but cast the public

to the curb in pursuit of membership dues from its largest members, such as Unilever.


IV.      “Vanilla” and “Natural Flavor” on Ingredient List With Only “Vanilla” on Front Label

      A. Vanilla and “Non-Characterizing” Natural Flavors

         55.    A well-known effort to deceive consumers was the development of the Vanguard

“flavoring system” for vanilla products in the late 1970s by David Michael & Co., Inc., currently


18
  Donna Berry, Understanding the limitations of natural flavors, BakingBusiness.com, Jan. 16, 2018.
19
  Hallagan and Drake, FEMA GRAS and U.S. Regulatory Authority: U.S. Flavor and Food Labeling Implications,
Perfumer & Flavorist, Oct. 25, 2018; Charles Zapsalis et al., Food chemistry and nutritional biochemistry. Wiley,
1985, p. 611 (describing the flavor industry’s goal to develop vanilla compound flavors “That Seem[s] to be Authentic
or at Least Derived from a Natural Source”) (emphasis added).
                                                         11
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part of International Flavors & Fragrances (“IFF”).20

           56.     The marketing materials for such products describe them as “vanilla replacers,”

capable of using half as much vanilla but having the same or greater vanilla taste.

           57.     Vanguard was self-described as a “flavorless” “natural flavor enhancer” that

“contain[ed] no vanilla, vanillin, ethyl vanillin, or any artificial flavor.”

           58.     This “non-characterizing” flavor was a “blend[s] of dozens of plant extractives,

roots, and botanicals, all natural ingredients found on the GRAS list.”

           59.     David Michael advised customers that (1) the ingredient list of a product made with

Vanguard would state “vanilla extract [or flavor], natural flavor” and (2) the front label would

state “Vanilla,” because the non-vanilla natural flavor did not resemble or simulate vanilla.

           60.     This appealed to manufacturers, who know consumers will pay more for foods which

do not contain the word “flavored” or “flavors” on the front label.

           61.     Where such terms are lacking, the consumer will expect the food’s flavor is derived

only from its characterizing ingredient, e.g., strawberries in strawberry shortcake instead of flavor

synthesized from strawberries in a laboratory and blended with other flavors.

           62.     Companies also know that consumers will pay more for products which contain high

value ingredients they are familiar with such as vanilla extract or vanilla flavoring as opposed to

the opaque and ubiquitous “Natural Flavor.”

           63.     Even where an ingredient list contains “natural flavor,” the presence of “vanilla

extract” is a net positive when appealing to consumers.


       B. When Flavor Is Not Required to be Designated on Front Label




20
     Developed initially for use in ice cream but expanded to other foods.
                                                           12
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        64.    Where a flavor is not from the product whose flavor is simulated, factors which affect

whether it should be disclosed on the front label include (i) the relationship between the

characterizing flavor from the product whose flavor is simulated and the other (natural) flavors

and (ii) whether the flavor is added for a “non-flavor” purpose.

        65.    First, the added natural flavor does not need to simulate or be chemically identical to

the characterizing flavor for it to be disclosed because the flavor may still reinforce or extend the

characterizing flavor.

        66.    Examples of natural, non-vanilla flavors which do not resemble or simulate vanilla

yet extend, potentiate and enhance vanilla include piperonal and maltol, even though they have no

noticeable flavor on their own.

        67.    Non-flavor purposes of flavors include (1) increasing sweetness without adding

caloric sweeteners, (2) masking non-desirable off-flavors caused by other ingredients and (3)

“rounding out” other notes and ancillary flavors.

        68.    Examples of ingredients which are known to require “masking flavors” are non-

caloric sweeteners like Stevia (“bitter notes most often described as a licorice off-taste”) and pea

proteins (“grassy, beany, earthy, bitter and chalky”).21

        69.    Masking flavors are claimed to work “in the background with the characterizing

notes, elevating them to their true potential” and “subdu[ing] off flavors from other

ingredients…allowing the characterizing flavor to shine.”22

        70.    Therefore, a masking flavor would be relevant to a product’s front label flavor

designation.     See 21 C.F.R. § 101.22(i)(1)(iii) describing how “other natural flavor which



21
   Robby Gardner, Last Bite: Flavor-Masking Stevia, May 24, 2011, Nutritional Outlook; Jeff Gelski, Eliminating the
pea flavor in pea protein, February 21, 2018, Food Business News.
22
   Donna Berry, Modifying Flavor in Dairy Foods, April 11, 2018, Food Business News.
                                                        13
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simulates, resembles or reinforces the characterizing flavor” is required to be disclosed.

        71.    Describing a flavor as “rounding out” another flavor is a legitimate-sounding yet

often meaningless rationale for excluding such flavor from the front label.

        72.    “Rounding out” is an amorphous concept with no single definition but primarily used

to refer to one flavor’s ability to enhance a food’s characterizing flavor. See Butter’s Got Cheese’s

Back: Part One, October 17, 2014, Edlong.com (“Our dairy expertise has shown us that butter

flavor complements processed and cheddar cheese profiles by rounding out the named profile and

adding a more fatty taste.”).

        73.    To accept that a product labeled “vanilla rice milk” can have non-vanilla flavors with

no relationship to the characterizing flavor makes little sense, because it is illogical to add

completely different flavors, i.e., strawberry or to make the product have a stronger “rice” taste.


V.      Front Label is Misleading Due to Not Disclosing Non-Vanilla Flavors That Affect the
        Amount of Vanilla Used and Enhance the Vanilla Taste

        74.    The Product’s label of “Vanilla Rice Milk” gives the impression that its entire flavor

(taste sensation and ingredient imparting same) is contributed by the characterizing food ingredient

of vanilla beans. See 21 C.F.R. § 101.22(i)(1) (describing a food which contains no simulating

artificial flavor and not subject to 21 C.F.R. § 101.22(i)(1)(i)-(iii)).

        75.    The Product’s ingredient list identifies “Organic Vanilla Extract” and “Natural

Flavor” as providing flavor.

                                            Ingredient List
              INGREDIENTS: ORGANIC RICEMILK (FILTERED WATER,
              ORGANIC WHOLE GRAIN BROWN RICE), ORGANIC BROWN RICE
              SYRUP, ORGANIC BROWN RICE SYRUP SOLIDS, ORGANIC
              EXPELLER PRESSED SAFFLOWER AND/OR SUNFLOWER SEED
              OIL, ORGANIC VANILLA EXTRACT, TRICALCIUM PHOSPHATE,
              SEA SALT, CARRAGEENAN, NATURAL FLAVOR, VITAMIN A

                                                   14
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               PALMITATE,   ERGOCALCIFEROL                         (VITAMIN         D2),
               CYANOCOBALAMIN (VITAMIN B12).

         76.    For the “Natural Flavor” to not be mentioned on the front label, it must perform a

function unrelated to the Product’s characterizing flavor, vanilla.

         77.    Given that the Product is not represented as unsweetened and contains multiple

sweetening ingredients, the “Natural Flavor” is not used to affect its sweetness.

         78.    Because the Product contains no ingredients which would necessitate a “masking

flavor,” there is no basis to consider the “Natural Flavor” any kind of masking flavor.

         79.    Finally, rice milk contains no flavors that would need to be “rounded out.”

         80.    Though only defendant’s flavor supplier is in possession of the flavor formula,

preliminary analysis reveals the “Natural Flavor” consists of flavors that extend and enhance the

Product’s vanilla taste.

         81.    Consumers are misled because these non-vanilla flavors make the Product taste more

like vanilla even though less vanilla has been used than otherwise would be. See 21 C.F.R. §

101.22(i)(1)(iii).

         82.    To the extent the “Other Natural Flavors” contain vanillin not derived from vanilla,

it cannot be designated as “natural flavors” and artificial flavor must be disclosed on the front

label.

         83.    This is because vanillin has always been considered artificial when used with real

vanilla. See Vanilla-vanillin extract at 21 C.F.R. § 169.180(b) (“The specified name of the food is

‘Vanilla-vanillin extract _-fold’ or ‘_-fold vanilla-vanillin extract’, followed immediately by the

statement ‘contains vanillin, an artificial flavor (or flavoring)’.”).


VI.      Conclusion

                                                   15
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       84.   Defendant’s branding and packaging of the Product is designed to – and does –

deceive, mislead, and defraud consumers.

       85.   Defendant has sold more of the Products and at higher prices per unit than it would

have in the absence of this misconduct, resulting in additional profits at the expense of consumers.

       86.   The amount and proportion of the characterizing component, vanilla, has a material

bearing on price or consumer acceptance of the Products because consumers are willing to pay

more for such Products.

       87.   The value of the Product that plaintiff purchased and consumed was materially less

than its value as represented by defendant.

       88.   Had plaintiff and class members known the truth, they would not have bought the

Products or would have paid less for it.

       89.   The Product contains other representations which are misleading and deceptive.

       90.   As a result of the false and misleading labeling, the Product is sold at a premium

price, approximately no less than $4.89 per unit, excluding tax, compared to other similar products

represented in a non-misleading way.

                                      Jurisdiction and Venue


       91.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

of 2005 or “CAFA”).

       92.   Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

       93.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.
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        94.    This is a reasonable assumption because defendant’s Products are sold in thousands

of stores across all 50 states and have been sold bearing the allegedly misleading claims for at least

five years.

        95.    Plaintiff is a citizen of New York.

        96.    Defendant is a Delaware corporation with a principal place of business in Austin,

Travis County, Texas and is a citizen of Texas.

        97.    This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to provide and/or supply and provides and/or supplies services and/or goods

within New York.

        98.    Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        99.    A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                  Parties

        100. Plaintiff is a citizen of New Rochelle, Westchester County, New York.

        101. Defendant Whole Foods Market Group, Inc. is a Delaware corporation with a

principal place of business in Austin, Texas, Travis County.

        102. During the relevant statutes of limitations, plaintiff purchased the Product within this

district and/or State for personal consumption in reliance on the representations.

                                          Class Allegations


        103. The classes will consist of all purchasers of the Products in New York, the other 49

states and a nationwide class, during the applicable statutes of limitations.

        104. Common questions of law or fact predominate and include whether defendant’s

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representations were and are misleading and if plaintiff and class members are entitled to damages.

       105. Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       106. Plaintiff is an adequate representative because his interests do not conflict with other

members.

       107. No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       108. Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       109. Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       110. Plaintiff seeks class-wide injunctive relief because the practices continue.

                                       New York GBL §§ 349 & 350
                                 (Consumer Protection from Deceptive Acts)

       111. Plaintiff incorporates by reference all preceding paragraphs.

       112. Plaintiff and class members desired to purchase, consume and use products or

services which were as described and marketed by defendant and expected by reasonable

consumers, given the product or service type.

       113. Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       114. Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products.

       115. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the
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highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

did not contain other flavor components which simulate, resemble or reinforce the characterizing

flavor and only contained flavor from vanilla.

       116. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                        Negligent Misrepresentation

       117. Plaintiff incorporates by reference all preceding paragraphs.

       118. Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products.

       119. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

did not contain other flavor components which simulate, resemble or reinforce the characterizing

flavor and only contained flavor from vanilla.

       120. Defendant had a duty to disclose and/or provide non-deceptive marketing of the

Products and knew or should have known same were false or misleading.

       121. This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       122. The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

       123. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

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Products.

       124. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

            Breaches of Express Warranty, Implied Warranty of Merchantability and
                  Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       125. Plaintiff incorporates by reference all preceding paragraphs.

       126. The Products were manufactured, labeled and sold by defendant and warranted to

plaintiff and class members that they possessed substantive, functional, nutritional, qualitative,

compositional, organoleptic, sensory, physical and other attributes which they did not.

       127. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Products.

       128. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

       129. Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       130. Defendant received notice and should have been aware of these misrepresentations

due to numerous complaints by consumers to its main office over the past several years.

       131. The Products did not conform to their affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       132. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                             Fraud


       133. Plaintiff incorporates by references all preceding paragraphs.


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       134. Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products contain sufficient amounts of the

highlighted ingredient, vanilla, to independently characterize the taste or flavor of the Products,

did not contain other flavor components which simulate, resemble or reinforce the characterizing

flavor and only contained flavor from vanilla.

       135. Defendant’s fraudulent intent is evinced by its failure to accurately identify the

Products on the front label when it knew this was not true.

       136. Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                            Unjust Enrichment

       137. Plaintiff incorporates by reference all preceding paragraphs.

       138. Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                   Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

       as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, restitution and disgorgement for members of the State Subclasses pursuant


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      to the applicable laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

      to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: February 26, 2020
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
                                                              /s/Spencer Sheehan
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7:20-cv-01680
United States District Court
Southern District of New York

Gordon Hiland, individually and on behalf of all others similarly situated,


                                         Plaintiff,


        - against -


Whole Foods Market Group, Inc.,


                                         Defendant




                                           Complaint



                       Sheehan & Associates, P.C.
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                            Tel: (516) 303-0552
                            Fax: (516) 234-7800




Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: February 26, 2020
                                                                         /s/ Spencer Sheehan
                                                                          Spencer Sheehan
